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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA
BUTTE DIVISION

NICHOLAS DOUGLAS; TASHEKA
BRYAN; JUNIOR HARRIS;
MARCUS RICHARDS;
STEPHANEY SMITH; and those
similarly situated,

Plaintiffs,
vs.
YELLOWSTONE CLUB
OPERATIONS, LLC; and
HOSPITALITY STAFFING
SOLUTIONS, LLC,

Defendants.

 

 

No. CV 18-62-BU-SEH

ORDER

On August 24, 2020, Plaintiffs filed an Unopposed Motion for Preliminary

Approval of Class Action Settlement Pursuant to Rule 23(e)(1)' and brief in

support.’ On August 31, 2020, the Court denied the motion without prejudice with

 

'Doc. 63.

2 Doc. 64.
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the option to resubmit the preliminary approval request on or before September 11,
2020.3

On September 2, 2020, Plaintiffs filed a First Supplemental Brief in Support
of their Unopposed Motion for Preliminary Approval of Class Action Settlement
Pursuant to Rule 23(e)(1).’ A telephonic status conference with counsel was
conducted on September 3, 2020.°

On September 18, 2020, Plaintiffs filed a Second Supplemental Brief in
Support of Unopposed Motion for Preliminary Approval of Class Action
Settlement Pursuant to Rule 23(e)(1).° Both Defendants responded on September
25, 2020.’

On November 10, 2020, the Court held a status conference. The parties were
allowed to and including December 4, 2020, to amend the proposed class
settlement. A Joint Written Stipulation Agreeing with the Court’s Proposed

Allocation Plan® was filed on December 4, 2020.

 

7 Doc. 66 at 3-4.
‘Doc. 68.

> Doc. 69.

© Doc. 75.

” Docs. 76 and 77.

5 Doc. 87.
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The Court is presented with the decision of whether to issue notice and
preliminarily approve Plaintiffs Unopposed Motion for Preliminary Approval of
Class Action Settlement Pursuant to Rule 23(e)(1)’ as modified by the Joint
Written Stipulation Agreeing with the Court’s Proposed Allocation Plan.’

ORDERED:

1. The following proposed class is conditionally certified for purposes
of notice under Federal Rule of Civil Procedure 23(e):

ALL PERSONS WHO WORKED AT THE
YELLOWSTONE CLUB BETWEEN OCTOBER 2017
AND MAY 2018 ON NON IMMIGRANT H-2B VISAS
AND WHO WERE ON THE PAYROLL OF
HOSPITALITY STAFFING SOLUTIONS (HSS)
DURING THAT PERIOD."!

2. Plaintiffs’ Unopposed Preliminary Approval of Class Action
Settlement Pursuant to Rule 23(e)(1)’* as modified by the Joint Written Stipulation

Agreeing with the Court’s Proposed Allocation Plan? is GRANTED.

 

* Doc. 63.

" Doc. 87.

" Doc. 87-4 at 2.
" Doc. 63.

3 Docs. 87 and 87-1 to 87-4.
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a. On or before January 8, 2021, Defendants shall provide to
Plaintiffs the names and contact information of each member of the
class.

b. On or before January 8, 2021, Plaintiffs shall serve Class
Action Fairness Act notices on each member of the class.

Cc. On or before January 22, 2021, Plaintiffs shall issue and
transmit notice and the opt-out forms in accordance with the joint
stipulation’* to each member of the class.

d. On or before March 26, 2021, any class member wishing to
object to the class settlement must mail a written objection to
Plaintiffs’ counsel. Any class member who does not state his or her
objection to the settlement in the manner provided shall be deemed to
have waived such objection and is foreclosed from making any
objection to the fairness of the proposed settlement, unless otherwise

ordered by the Court.

 

4 Doc. 87; See 87-2 and 87-3.
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e. On or before April 2, 2021, Plaintiffs shall file a motion for
final approval, an account of Plaintiffs’ fees and costs, and a final
calculation of all payments to be made to individual class members.
3. A fairness hearing will be held at 10:00 a.m. on April 22, 2021, at the
Paul G. Hatfield Courthouse, Courtroom I, Helena, Montana, to address and
decide whether to issue final approval of the class action settlement.
4. In keeping with the protocols of Administrative Order 20-25 effective
July 13, 2020, and absent modification or suspension of that Order, and except as
may otherwise be ordered by the Court, removal of masks by counsel and other
speaking participants at the April 22, 2021, hearing is authorized for purposes of
witness testimony, party identification, making an appropriate record, statements
by and to the Court, or for such other reason or reasons deemed by the Court to be
necessary and appropriate. Appropriate social distancing and other protective
measures will be observed.
DATED this 50 “day of December, 2020.

lew /; hed der

SAM E. HADDON
United States District Court
